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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         NEWNAN DIVISION

ASHLEE SUTTLE, and                     )
CHELSEA TURNER,                        )
                                       )
      Plaintiffs,                      )
                                       )      Civil Action File
vs.                                    )      No. 3:20-CV-00158-TCB
                                       )
LA SALSA MEX INC.,                     )
                                       )
      Defendant.                       )


  ORDER GRANTING JOINT MOTION TO APPROVE SETTLEMENT

      This case is before the Court on the Parties’ Joint Motion to Approve

Settlement and the Parties’ proposed Settlement Agreement. After reviewing the

record and the Parties’ joint submissions, the Court is of the opinion that the Motion

should be GRANTED. Having reviewed the Settlement Agreement the Parties

executed, the Court finds that the settlement is fair, adequate, and reasonable. The

Court finds that the Settlement Agreement was negotiated at arm’s length by

represented Parties and is not the result of collusion. The Court also finds that the

payment of attorneys’ fees and expenses provided in the Settlement Agreement are

reasonable.
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      Therefore, the Joint Motion is GRANTED, the settlement is APPROVED,

and the terms of the Settlement Agreement are incorporated into this Order. The

Court will retain jurisdiction for the purposes of enforcing the Settlement

Agreement. In light of the settlement, the Court DISMISSES all claims with

prejudice.

      IT IS SO ORDERED, this _____
                              17th day of _____________,
                                           November      2020.



                                    ____________________________________
                                    HON. TIMOTHY C. BATTEN, SR.
                                    UNITED STATES DISTRICT JUDGE




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